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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                  4:11CR3110
      vs.
                                                         DETENTION ORDER
KENNETH A. JONES,
                    Defendant.

      The defendant was afforded an opportunity for a hearing, but agreed to be detained
without a hearing. The defendant has therefore failed to meet the burden of showing, by
clear and convincing evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P.
Rule 32.1(a)(6) that defendant will appear at court proceedings and will not pose a danger
to the safety of any person or the community if released. The Court’s findings are based
on the allegations within the Petition and Amended Petitions.

IT IS ORDERED:

      1)     The above-named defendant shall be detained until further order.

      2)     The defendant is committed to the custody of the Attorney General for
             confinement in a corrections facility; the defendant shall be afforded
             reasonable opportunity for private consultation with counsel; and on order
             of a court of the United States, or on request of an attorney for the
             government, the person in charge of the facility shall deliver the defendant
             to a United States Marshal for appearance in connection with a court
             proceeding.


      March 14, 2017.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
